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                              SAN ANTONIO DIVISION                        wQ-r
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  LABORFEST, LLC &                                                                          :UTY
  LARRY WILLIMS

          Plaintifs
                                                         CASE No. SA-19-CV-00060 JKP


  CITY OF SAN ANTONIO, JOHN
                            DOES
  UNKOWN CITI( EMPLOYEES




                               PLAINTIFF' ADVISORY REPORT
   Plaintiff inforL the cou    itwishes to proceed to trial on all claims
 in the petition, including the                                           stated
                                Texas Theft Liability Act 1981 and 1983.
 Plaintiff anticipaes 5- 7 witnesses.



                                                        Respectfully submitted

                                                       Bernard Buecker, SBN 03314500
                                                       463 E Olmos Drive
                                                       San Antonio, Texas 78212
